               Case 3:12-cv-04673-JSW Document 6 Filed 09/19/12 Page 1 of 1
                                            UNITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF CALIFORNIA

                                                    RELATED CASE ORDER

        A Motion for Administrative Relief to Consider Whether Cases Should be Related or a
Sua Sponte Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been
filed. The time for filing an opposition or statement of support has passed. As the judge
assigned to the earliest filed case below that bears my initials, I find that the more recently filed
case(s) that I have initialed below are related to the case assigned to me, and such case(s) shall
be reassigned to me. Any cases listed below that are not related to the case assigned to me are
referred to the judge assigned to the next-earliest filed case for a related case determination.

 C 12-04365              Turik et al v. Expedia, Inc. Et al
 JSW
 C 12-04673              Olcott v. Kimpton Hotel & Restaurant Group, LLC et al
 DMR

                         I find that the above case is related to the case assigned to me: JSW



 C 12-04754              Wittenberg v. Expedia, Inc. Et al
 EDL

                        I find that the above case is related to the case assigned to me:   JSW

                                                          ORDER

        Counsel are instructed that all future filings in any reassigned case are to bear the initials
of the newly assigned judge immediately after the case number. Any case management
conference in any reassigned case will be rescheduled by the Court. The parties shall adjust the
dates for the conference, disclosures and report required by FRCivP 16 and 26 accordingly.
Unless otherwise ordered, any dates for hearing noticed motions are vacated and must be re-
noticed by the moving party before the newly assigned judge; any deadlines set by the ADR
Local Rules remain in effect; and any deadlines established in a case management order continue
to govern, except dates for appearance in court, which will be rescheduled by the newly assigned
judge.



 Dated: September 19, 2012
                                                    Jeffrey S. White
                                                    UNITED STATES DISTRICT JUDGE


Copies to: Courtroom Deputies
            Case Systems Administrators
            Counsel of Record
Entered into Assignment Program:           (date)




                                                             -1-
